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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

 

 

EASTERN DIVISION
UNITED STATES OF AMERICA, ) INDICTMENT
)
Plaintiff, )
) 5 es I) E Re
v. ) caging 2 JUDG BARKER ~~ 5,
) Title 18, UnitedStates Codé  *” *
ANTERO A. ISIDRO, ) Section. 1028A(a)(1);
aka ANTONIO A. ISIDRO, ) Title 42, United States Code,
) Section 408(a)(7)(B);
Defendant. ) Title 18, United States Code,
) Section 1546(a)
COUNT i
(Misuse of a Social Security Number, 42 U.S.C. § 408(a)(7)(B))
The Grand Jury charges:
1. On or about July 24, 2017, in the Northern District of Ohio, Eastern Division, and

elsewhere, Defendant ANTERO A. ISIDRO, aka ANTONIO A. ISIDRO, for the purpose of
obtaining anything of value and for any other purpose, with the intent to deceive, falsely
represented a number to be the SSN assigned by the Commissioner of Social Security to him
when in fact such number was not the Social Security Number assigned by the Commissioner of
Social Security to him, in that on an employment application, Defendant stated that XXK-XX-
7896 was the SSN assigned to him by the Commissioner of Social Security, when in fact, as he
then well knew, that number was not assigned to him by the Commissioner of Social Security, in

violation of Title 42, United States Code, Section 408(a)(7)(B).
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COUNT 2
(Aggravated Identity Theft, 18 U.S.C. § 1028A(a)(1))

The Grand Jury further charges:

2. On or about July 24, 2017, in the Northern District of Ohio, Eastern Division,
Defendant ANTERO A. ISIDRO, aka ANTONIO A. ISIDRO, during and in relation to a felony
violation enumerated in Title 18, United States Code, Section 1028A(c), that is, Possession of a
Fraudulent Identification Document, in violation of Title 18, United States Code, Section
1546(a), knowingly transferred, possessed, and used, without lawful authority, the means of
identification of another person, knowing that said means of identification belonged to another
person, to wit: ISIDRO possessed and used a fraudulent Social Security card containing the
number XXX-XX-7896 knowing that number was assigned by the Commissioner of Social
Security to another person in violation of Title 18, United States Code, Section 1028A(a)(1).

COUNT 3
(Possession of a Fraudulent Identification Document, 18 U.S.C. § 1546(a))

The Grand Jury further charges:

3. On or about July 24, 2017, in the Northern District of Ohio, Eastern Division,
Defendant, ANTERO A. ISIDRO, aka ANTONIO A. ISIDRO, did knowingly utter, use, attempt
to use, possess, obtain, accept, and receive a counterfeit Social Security card, a document
prescribed by statute and regulation for entry into and evidence of authorized stay and
employment in the United States, knowing it to be forged, counterfeited, and falsely made, and
otherwise procured by fraud and unlawfully obtained, to wit: ISIDRO uttered, used, and
possessed a counterfeit Social Security card in his name in violation of Title 18, United States

Code, Section 1546(a).
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COUNT 4
(Possession of a Fraudulent Identification Document, 18 U.S.C. § 1546(a))

The Grand Jury further charges:

4, On or about July 24, 2017, in the Northern District of Ohio, Eastern Division,
Defendant, ANTERO A. ISIDRO, aka ANTONIO A. ISIDRO, did knowingly utter, use, attempt
to use, possess, obtain, accept, and receive a counterfeit Legal Permanent Resident card, a
document prescribed by statute and regulation for entry into and evidence of authorized stay and
employment in the United States, knowing it to be forged, counterfeited, and falsely made, and
otherwise procured by fraud and unlawfully obtained, to wit: ISIDRO uttered, used, and
possessed a counterfeit Legal Permanent Resident card in his name in violation of Title 18,

United States Code, Section 1546(a).

A TRUE BILL.

Original document ~- Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002.
